
936 So.2d 774 (2006)
M.D.J., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D05-3330.
District Court of Appeal of Florida, Fifth District.
September 1, 2006.
*775 James S. Purdy, Public Defender, and Rose M. Levering, Assistant Public Defender, Daytona Beach, for Appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Carmen F. Corrente, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
We strike the assessment of the fine set forth in section 939.185, Florida Statutes (2005), as it has no application in juvenile proceedings. See V.K.E. v. State, 934 So.2d 1276 (Fla. 2006). We affirm the trial court's order denying suppression of M.D.J.'s statement to law enforcement as we agree that M.D.J. was not the subject of a custodial interrogation.
AFFIRMED; FINE STRICKEN.
SAWAYA, ORFINGER and TORPY, JJ., concur.
